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UNITED sTATEs DISTRICT coURT @S,p ,
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EASTERN DIVISION »… 45 ""
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Judy Akers /V.,J;,,Q’jj>‘/©
109 cibson Highway, 613 '“’ii?;;_.,@”
Milan, Tennessee 38358 y
ssN; XXX-XX-XXXX
Plaintiff,
v civil Action No. 05-1051T

Jo Anne B. Barnhart

Commissioner of

Social Security,
Defendant.

ORDER
Wherefore, for good cause shown and it appealing to the court that Plaintiff
requires extra time to prepare Plaintiff"s brief, and and, because the United States Attorney
representing the government in this matter consents to the additional time requested,
lt is, accordingly, ordered, adjudged, and decreed that Plaintift` is granted an

additional period of time, up to and including June 20, 2005, to file Plaintiff"s brief in support of

b,§lm{Lz/L

Distri ourt Judge

'MWMS'

her Complaint.

Thh document entered on the docket anne
with nme ss and.'or,rs {a) l=nCP on M§_

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Case 1:05-cv-01051-.]DT-STA Document 10 Filed 05/23/05 Page 2 of 3 Page|D 5

Approved for entry:

    

oger
Attorney for Plaintiff

P. 0. Box 3338

Jackson, TN 38303-3338
901-424-1305

TN BPR # 006600

Certificate of Service v
I certify that I have mailed a true and exact copy fo the foregoing Proposed C'rder

to Joseph Dycus, Assistant United States Attorney, 800 Federal Ofiice Building, 167 North`~ g ain

Street, Memphis, TN 38103, this the 20th day of May, ZOW .;j,_,
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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 10 in
case l:05-CV-01051 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. BOX 3338

Jackson7 TN 38303--333

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

